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                                        EXHIBIT 3
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                                            UNITED STATES DISTRICT COURT
                                             WESTERN DISTRICT OF TEXAS
                                                SAN ANTONIO DIVISION

             LA UNIÓN DEL PUEBLO ENTERO, et al., §
                            Plaintiffs,          §
                                                 §
             v.                                  §                            5:21-CV-0844-XR
                                                 §                            (Consolidated Cases)
             GREGORY ABBOTT, et al.              §
                            Defendants.          §


                       STIPULATION OF THE DISTRICT ATTORNEY OF TRAVIS COUNTY



                       I, José Garza, stipulate as follows:

                     1.       I serve as the District Attorney of Travis County, Texas, a position I was first elected

             to in November 2020. I was sworn in as Travis County District Attorney on January 1, 2021.

                     2.       In this role, I lead the Travis County District Attorney’s Office (“Travis DA’s

             Office”), which is responsible for prosecuting alleged criminal violations of the Texas Election

             Code in Travis County. This includes responsibility for, where my office has jurisdiction,

             prosecuting alleged violations of Tex. Elec. Code Ann. §§ 33.051, 33.061, 86.010, 86.0105,

             276.015 - 276.016, and 276.018 (“Criminal Provisions”). If my office determines an alleged

             criminal offense is a misdemeanor under the Texas Election Code, in most instances, jurisdiction

             will lie in a Travis County Court at Law, and as Travis DA, I intend to refer such complaint[s] to

             the Travis County Attorney’s Office. With respect to alleged Texas Election Code misdemeanor

             offense[s] committed by a “person serving in an official capacity” and is determined to be a

             public servant acting in his or her official capacity, jurisdiction would vest in a Travis County

             District Court and the Travis County District Attorney’s Office would represent the State of

             Texas in the matter. See Tex. Code Crim Proc. §§ 4.05, 3.04, 1.07 (a) (41).
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                       3.     The Travis DA’s Office has made no announcement that it will refrain from

             enforcement of the Criminal Provisions. Ex. A (Resp. to Request for Admission No. 1).

                       4.     The Travis DA’s Office does not intend to wholly refrain from investigating alleged

             violations of the Criminal Provisions. Ex. A (Resp. to Request for Admission No. 3).

                       5.     The Travis DA’s Office does not intend to wholly refrain from prosecuting

             violations of the Criminal Provisions, with the exception of those misdemeanor offenses over

             which the Travis DA’s Office does not have jurisdiction, which as Travis DA I intend to refer

             such complaint[s] to the Travis County Attorney’s Office. Ex. A (Resp. to Request for Admission

             No. 2).

                       6.     The Travis DA’s Office does not disavow any intent to prosecute violations of the

             Tex. Elec. Code Ann. §§ 33.051, 33.061, 86.010, 86.0105, 276.015–.019 for which it has

             jurisdiction. Instead, the Travis DA’s Office “intends to accept all complaints under” these

             provisions, “investigate the allegations or refer the complaint[s] to the appropriate investigatory

             agency. After a thorough investigation is completed, the Travis County District Attorney’s Office

             will review each complaint on a case-by-case basis and comply with our statutory mandate to see

             that justice is done.” Ex. B (Resp. to Interrogatory Nos. 1–2, 4).

                       7.     The attached exhibits to this stipulation are the true and correct copies of discovery

             responses served by the Travis DA’s Office in this matter. I incorporate these responses into this

             stipulation by reference.

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                                                             Executed on:


                                                             José Garza, District Attorney, Travis County, Texas
